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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

            In re:                                   §          Chapter 11
                                                     §
            KRISJENN RANCH, LLC, et al               §          Case No. 20-50805
                                                     §
            Debtor                                   §          (Jointly Administered)

  SUMMARY OF FIRST INTERIM APPLICATION FOR PAYMENT OF ATTORNEY’S
  FEES BY THE SMEBERG LAW FIRM, PLLC, ATTORNEY FOR KRISJENN RANCH,
  LLC, KRISJENN RANCH LLC, SERIES UVALDE RANCH, AND KRISJENN RANCH,
   LLC, SERIES PIPELINE ROW, DEBTORS-IN-POSSESSION, FOR PROFESSIONAL
    SERVICES RENDERED FROM APRIL 27, 2020 THROUGH OCTOBER 31, 2021

      I.          CLIENT-- KrisJenn Ranch, LLC, KrisJenn Ranch LLC, Series Uvalde Ranch, and

                  KrisJenn Ranch, LLC, Series Pipeline Row, Debtors in Possession

      II.         REQUESTING APPLICANT/FIRM -- The Smeberg Law Firm, PLLC, Attorney

                  for the Debtors in Possession

             a.   TOTAL AMOUNT OF FEES AND EXPENSES REQUESTED - $92,421.59
             b.   Fees: $90,643.00
             c.   Expenses: $1,778.59
             d.   Total Fees and Expenses Paid by Fee Procedure Order: $54,096.80
             e.   Remaining Fees Owed: $38,324.79
             f.   Time Period Covered: April 27, 2020 – October 31, 2021

      III.        BREAKDOWN OF CURRENT APPLICATION –

           TIMEKEEPER NAME                         HOURS        RATE                FEE
           Ronald J. Smeberg,
                                                  159.9       $325.00         $51,967.50
           Managing Attorney
            Ezekiel J. Perez,
                                                  15.9        $250.00          $3,975.00
           Associate Attorney
             Craig O’Neil,
                                                  47.8        $250.00         $11,950.00
           Associate Attorney
            Paige Burough,
                                                  34.5        $225.00          $7,762.50
               Associate
            Paige Burough,
                                                   6.6        $120.00           $792.00
              Law Clerk
                                                          1
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        Denielle Anguiano,
                              107.3       $120.00           $12,876.00
         Legal Assistant
         Denise Saathoff,
                               11         $120.00           $1,320.00
         Legal Assistant
            MINIMUM FEE INCREMENTS- Minimum fee increments are .1 of an hour.

      IV.    PRIOR APPLICATIONS: None.

      V.     OTHER CO-EQUAL OR ADMINISTRATIVE CLAIMANTS IN THIS CASE:

             Charles John Muller, IV, Douglas G. Deffenbaugh, C.P.A., United States Trustee.

      VI.    RESULTS OBTAINED: The Smeberg Law Firm, PLLC has participated in assisting

             the Debtors with administration of the estate including preparing schedules, preparing

             and prosecuting first day motions, reviewing Monthly Operating Reports, assisting

             Debtor with analyzing and correcting financials, negotiating with creditors,

             negotiating with the United States Trustee, prosecuting motions to employ

             professionals, representing Debtor at various hearings, and drafting Debtor’s plan of

             reorganization.

      VII.   This application is not in excess of the rates disclosed under Appendix L-2016-a-2.

      Dated: November 10, 2021


                                              Respectfully Submitted,

                                              THE SMEBERG LAW FIRM, PLLC.

                                              By:    /s/ Ronald J. Smeberg____
                                              RONALD J. SMEBERG
                                              State Bar No. 24033967
                                              4 Imperial Oaks
                                              San Antonio, Texas 78248
                                              (210) 695-6684, Telephone
                                              (210) 598-7357, Facsimile
                                              ron@smeberg.com
                                              ATTORNEY FOR DEBTORS

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                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the forgoing was served by electronic mail
  through the Court’s ECF system to all parties who have registered an appearance in this case and
  forwarded to all parties listed on the attached Service List, by first class mail, postage prepaid, on
  November 10, 2021.
                                                   /s/ Ronald J. Smeberg         _____
                                                  RONALD J. SMEBERG



                                           SERVICE LIST


  DEBTOR                            Texas Comptroller of               Uvalde Tax Assessor
  KrissJenn Ranch, LLC              Public Account                     Courthouse Plaza, Box 8
  410 Spyglass Rd                   Attn: Bankruptcy                   Uvalde, Texas 78801
  Mc Queeney, TX 78123-             P.O. Box 149359
  3418                              Austin, TX 78714-9359              NOTICE PARTIES

  GOVERNMENT                        Angelina County Tax                METTAUER LAW
  ENTITIES                          Assessor                           FIRM
                                    606 E Lufkin Ave,                  c/o April Prince
  Office of the UST                 Lufkin, Texas 75901                403 Nacogdoches St Ste
  615 E Houston, Room                                                  1
  533                               Nacogdoches County                 Center, TX 75935-3810
  PO Box 1539                       Tax
  San Antonio, TX 78295-            Assessor Collector                 Albert, Neely &
  1539                              101 West Main Street               Kuhlmann
                                    Nacogdoches, Texas                 1600 Oil & Gas Building
  U.S. Attorney                     75961                              309 W 7th St
  Attn: Bkcy Division                                                  Fort Worth, TX 76102-
  601 NW Loop 410, Suite            Rusk County                        6900
  600                               202 N Main St,
  San Antonio, Texas                Henderson, Texas 75652             Laura L. Worsham
  78216                                                                JONES, ALLEN &
                                    Shelby County, Tax                 FUQUAY, LLP
  Internal Revenue                  Collector                          8828 Greenville Ave.
  Services                          200 St. Augustine St.              Dallas, Texas 75243
  Special Procedures                Center, Texas 75935
  Branch                                                               Craig Crockett
  300 E. 8th St. STOP 5026          Tenaha ISD Tax                     CRAIG M. CROCKETT, PC
  AUS                               Assessor-Collector                 5201 Camp Bowie Blvd.
  Austin, TX 78701                  138 College St                     #200
                                    Tenaha, TX 75974-5612              Fort Worth, Texas 76107

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  Christopher S. Johns       5535 Fredericksburg Rd
  JOHNS &COUNSEL             Ste 110
  PLLC                       San Antonio, TX 78229-
  14101 Highway 290          3553
  West,
  ste 400A                   Hopper's Soft Water
  Austin, Texas 78737        Service
                             120 W Frio St
  Timothy Cleveland          Uvalde, TX 78801-3602
  CLEVELAND|TERRAZ
  AS PLLC                    Larry Wright
  4611 Bee Cave Road, ste    410 Spyglass Rd
  306B                       Mc Queeney, TX 78123-
  Austin, Texas 78746        3418

  Andrew R. Seger            Medina Electric
  KEY TERRELL &              2308 18th St.
  SEGER                      Po Box 370
  4825 50th Street, ste A    Hondo, TX 78861-0370
  Lubbock, Texas 79414
                             Medina's Pest Control
  SECURED                    1490 S Homestead Rd
  CREIDITORS                 Uvalde, TX 78801-7625

  McLeod Oil, LLC            Texas Farm Store
  c/o John W. McLeod, Jr.    236 E Nopal St
  700 N Wildwood Dr          Uvalde, TX 78801-5317
  Irving, TX 75061-8832
                             Uvalco Supply
  UNSECURED                  2521 E Main St
  CREIDITORS                 Uvalde, TX 78801-4940

  Bigfoot Energy Services    Longbranch Energy
  312 W Sabine St            c/o DUKE BANISTER
  Carthage, TX 75633-        RICHMOND
  2519                       Po Box 175
                             Fulshear, TX 77441-
  C&W Fuels, Inc.            0175
  Po Box 40
  Hondo, TX 78861-0040       DMA Properties, Inc.
                             896 Walnut Street at US
  Davis, Cedillo &           123 BYP
  Mendoza                    Seneca, SC 29678
  755 E Mulberry Ave Ste
  500
  San Antonio, TX 78212-
  3135

  Granstaff Gaedke &
  Edgmon
